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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND




   UNITED STATES OF AMERICA


                V.                                      Criminal No.PJM-22-209


   NICHOLAS JOHN ROSKE,

           Defendant.




                                              ..oOo..



                                           ORDER

       Upon consideration of the Consent Motion for Order Regarding Speedy Trial Status, it is

this     day ofJuly, 2022,

       ORDERED,that the Consent Motion for Order Regarding Speedy Trial Status shall be,

and the same hereby is, GRANTED; and it is further

       ORDERED, that pursuant to 18 U.S.C. §3161(h)(l)(D), the period of time between the

filing of the defendant's Motion to Suppress Statements and Motion For Leave to File Additional

Pretrial Motions and the conclusion of any hearing or other final disposition as to those motions

shall be excluded for purposes of calculating the time under the Speedy Trial Act in which the

defendant must be tried.



                                                    P^r J.Messitte
                                                     (nited^tates District Judge
